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                           IN THE UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

CHARLES BOYLE,                                       )
                                                     )
      Plaintiff,                                     )    Case No.:
                                                     )
               v.                                    )    COMPLAINT FOR VIOLATION OF
                                                     )    CIVIL RIGHTS AND STATE
University of Chicago Police Officer                 )    SUPPLEMENTAL CLAIMS
LARRY TORRES, Star # 1028,                           )
University of Chicago Police Officer                 )
CLARENCE E. MOORE, Star #1012,                       )
University of Chicago Police Officer                 )    JURY DEMANDED
GALARZA, University of Chicago Police                )
Officer KWIATKOWSKI, University of                   )   FILED: FEBRUARY 19, 2009
Chicago Police Officer GILLESPIE,                    )   09CV1080
UNIVERSITY OF CHICAGO, Chicago                       )   JUDGE BUCKLO
Police Officer V. DARLING, Star                      )   MAGISTRATE JUDGE DENLOW
#19135, Chicago Police Officer C. E.                 )
                                                         BR
MARTIN, Star #17246, and the CITY OF                 )
CHICAGO,

      Defendants.


                                     JURISDICTION AND VENUE

        1.         This action arises under the United States Constitution and the Civil Rights Act of

1871 (42 U.S.C. Section 1983). This court has jurisdiction under and by virtue of 28 U.S.C.

Sections 1343, 1331 and 1367.

        2.         Venue is founded in this judicial court upon 28 U.S.C. Section 1391 as the acts

complained of arose in this district.

                                                 PARTIES

        3.         At all times herein mentioned, Plaintiff, Charles Boyle, was and is a citizen of the

United States, and was within the jurisdiction of this court.
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        4.      At all times herein mentioned, Defendant University of Chicago Police Officer

Larry Torres, Star No. 1028 (
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                                 ”), was employed by the University of Chicago, and was

acting under color of state law and as the employee, agent, or representative of the University of

Chicago. This Defendant is being sued in his individual capacity.

        5.      At all times herein mentioned, Defendant University of Chicago Police Officer

Clarence E. Moore, Star No. 1012 (
                                 “Moor
                                     e”)
                                       , was employed by the University of Chicago, and

was acting under color of state law and as the employee, agent, or representative of the

University of Chicago. This Defendant is being sued in his individual capacity.

        6.      At all times herein mentioned, Defendant University of Chicago Police Officer

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            ), was employed by the University of Chicago, and was acting under color of

state law and as the employee, agent, or representative of the University of Chicago. This

Defendant is being sued in his individual capacity.

        7.      At all times herein mentioned, Defendant University of Chicago Police Officer

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                   ), was employed by the University of Chicago, and was acting

under color of state law and as the employee, agent, or representative of the University of

Chicago. This Defendant is being sued in his individual capacity.

        8.      At all times herein mentioned, Defendant University of Chicago Police Officer

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             ”), was employed by the University of Chicago, and was acting under color

of state law and as the employee, agent, or representative of the University of Chicago. This

Defendant is being sued in his individual capacity.

        9.      At all times herein mentioned, the University of Chicago was a private educational

institution that maintained, managed, and/or operated the University of Chicago Police Department.

At all relevant times, the State of Illinois delegated the public functions traditionally performed




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exclusively by municipal police officers and county sheriffs, state actors, to the University of

Chicago.

       10.     At all times herein mentioned, Defendant Chicago Police Officer V. Darling, Star

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state law and as the employee, agent, or representative of the City of Chicago. This Defendant is

being sued in his individual capacity.

       11.     At all times herein mentioned, Defendant Chicago Police Officer C. E. Martin, Star

No. 17246 (
          “      )
           Martin”, was employed by the City of Chicago, and was acting under color of state

law and as the employee, agent, or representative of the City of Chicago. This Defendant is

being sued in his individual capacity.

       12.     At all times herein mentioned, the City of Chicago was a political division of the

State of Illinois, existing as such under the laws of the State of Illinois. At all relevant times, the

City of Chicago maintained, managed, and/or operated the City of Chicago Police Department.

                                   FACTUAL ALLEGATIONS

       13.     On or about October 18, 2008, Plaintiff was lawfully in a public place, in the City of

Chicago, Cook County, State of Illinois.

       14.     On that day and place Defendants Torres, Moore, Galarza, Kwiatkowski, Gillespie,

Darling, and Martin seized Plaintiff.

       15.     Plaintiff did not consent to being seized.

       16.     There was no outstanding arrest warrant for Plaintiff.

       11.     There was no legal cause to seize Plaintiff.

       12.     During the course of seizing Plaintiff Defendants Torres, Moore, Galarza,

Kwiatkowski, and Gillespie used force against Plaintiff.




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        13.      There was no legal cause for Defendants Torres, Moore, Galarza, Kwiatkowski, and

Gillespie to use force against Plaintiff.

        14.      Defendants Darling and Martin witnessed Defendants Torres, Moore, Galarza,

Kwiatkowski, and Gillespie use force against Plaintiff.

        15.      Defendants Darling and Martin had the ability and opportunity to stop Defendants

Torres, Martin, Galarza, Kwiatkowski, and Gillespie but failed to take any action to protect Plaintiff

from the force used by Defendants Torres, Moore, Galarza, Kwiatkowski, and Gillespie.

        16.      Plaintiff was then transported to the 21st District Police Station where he was

imprisoned.

        17.      On or about October 18, 2008, the individual Defendants caused false criminal

charges to be brought against Plaintiff for resisting or obstructing a peace officer.

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        19.      By reason of the above-described acts and omissions of Defendants, Plaintiff

sustained injuries, including but not limited to, humiliation and indignities, and suffered great

mental and emotional pain and suffering all to his damage in an amount to be ascertained.

        20.      The aforementioned acts of Defendants were willful, wanton, malicious, oppressive

and done with reckless indifference to and/or callous disregard for Plaintiff's rights and justify the

awarding of exemplary and punitive damages in an amount to be ascertained according to proof at

the time of trial.

        21.      By reason of the above-described acts and omissions of Defendants, Plaintiff was

required to retain an attorney to institute, prosecute and render legal assistance to him in the within

action so that he might vindicate the loss and impairment of his rights. By reason thereof, Plaintiff




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Section 1988, the Equal Access to Justice Act or any other provision set by law.

                                         COUNT I
    Plaintiff Against Defendants Torres, Moore, Galarza, Kwiatkowski, and Gillespie for
                              UNREASONABLE SEIZURE

        22.     Plaintiff hereby incorporates and realleges Paragraphs one (1) through twenty-one

(21) hereat as though fully set forth at this place.

        23.     By reason of the conduct by Defendants Torres, Moore, Galarza, Kwiatkowski, and

Gillespie, Plaintiff was deprived of rights, privileges and immunities secured to him by the

Fourth and/or Fourteenth Amendments to the Constitution of the United States and laws enacted

thereunder.

        24.     The arbitrary intrusion by Defendants,i
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pursuant to 42 U.S.C. § 1983.

                                               COUNT II
                          Plaintiff Against Defendants Darling and Martin for
                                     UNREASONABLE SEIZURE

        25.     Plaintiff hereby incorporates and realleges Paragraphs one (1) through twenty-one

(21) hereat as though fully set forth at this place.

        26.     By reason of the conduct by Defendants Darling and Martin, Plaintiff was deprived

of rights, privileges and immunities secured to him by the Fourth and/or Fourteenth Amendments

to the Constitution of the United States and laws enacted thereunder.




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                           s. Therefore, the Defendants are liable to Plaintiff

pursuant to 42 U.S.C. § 1983.

                                            COUNT III
        Plaintiff Against Defendants Torres, Moore, Galarza, Kwiatkowski, and Gillespie for
                                      EXCESSIVE FORCE

        28.     Plaintiff hereby incorporates and realleges paragraphs one (1) through twenty-one

(21) hereat as though fully set forth at this place.

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        30.     There was no legal cause for Defendants to use force against Plaintiff.

        31.     By reason of Defendants’conduct, Plaintiff was deprived of rights, privileges and

immunities secured to him by the Fourth and/or Fourteenth Amendment to the Constitution of the

United States and laws enacted thereunder.

        32.     The physical violence inflicted upon Plaintiff by Defendants was unnecessary,

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Amendment Rights. Therefore, Defendants are liable to Plaintiff pursuant to 42 U.S.C. § 1983.




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                                             COUNT IV
                        Plaintiff Against Defendants Darling and Martin for
                                     FAILURE TO PROTECT

        33.        Plaintiff hereby incorporates and realleges paragraphs one (1) through twenty-one

(21) hereat as though fully set forth at this place.

        34.        Defendants Torres, Moore, Galarza, Kwiatkowski, and Gillespie used excessive

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        35.        There was no legal cause for Defendants Torres, Moore, Galarza, Kwiatkowski, and

Gillespie to use force against Plaintiff.

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                                     nhad the ability and opportunity to stop Defendants

Torres, Moore, Galarza, Kwiatkowski, and Gillespie from using excessive force against Plaintiff but

failed to do so.

        37.        By reason of these acts and/or omissions by Defendants Darling and Martin,

Plaintiff was deprived of rights, privileges and immunities secured to him by the Fourth and/or

Fourteenth Amendment to the Constitution of the United States and laws enacted thereunder.

        38.        The physical violence inflicted upon Plaintiff by Defendants Torres, Moore,

Galarza, Kwiatkowski, and Gillespie was unnecessary, unreasonable, and excessive, and was

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                        h Amendment Rights. Therefore, Defendants Darling and

Martin are liable to Plaintiff pursuant to 42 U.S.C. § 1983.

                                              COUNT V
                                   Plaintiff Against All Defendants
                                   For The Supplemental Claim Of
                                   MALICIOUS PROSECUTION

        39.        Plaintiff incorporates and realleges paragraphs one (1) through twenty-one (21)

hereat as though fully set forth at this place.




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       40.     Defendants Torres, Moore, Galarza, Kwiatkowski, Gillespie, Martin, and Darling

caused a criminal prosecution to commence and/or continue against Plaintiff.

       41.     Defendants Torres, Moore, Galarza, Kwiatkowski, and Gillespie, police officers

employed by the University of Chicago, maliciously commenced and caused to be continued a

criminal action against Plaintiff without probable cause for the institution of these proceedings.

As a result, Plaintiff was injured emotionally, financially, and otherwise from the loss of certain

constitutionally protected liberty and related rights.

       42.     Defendants Martin and Darling, police officers employed by the City of Chicago,

maliciously commenced and caused to be continued a criminal action against Plaintiff without

probable cause for the institution of these proceedings. As a result, Plaintiff was injured

emotionally, financially, and otherwise from the loss of certain constitutionally protected liberty

and related rights.

       43.     Defendants Torres, Moore, Galarza, Kwiatkowski, Gillespie, Martin, and Darling

initiated, facilitated, and/or continued this malicious prosecution by the creation of false

evidence, by giving false police reports, preparing and signing false criminal complaints, and/or

by preparing false witness statements.

       44.                                                  a
               The criminal proceedings were terminated in Plint
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                                                                 sfavor on or about January

27, 2009.

       45.     The University of Chicago is liable to Plaintiff of the acts of Defendants Torres,

Moore, Galarza, Kwiatkowski, and Gillespie pursuant to the doctrine of respondeat superior.

       46.     Therefore, Defendants Torres, Moore, Galarza, Kwiatkowski, Gillespie, and the

University of Chicago are liable under the supplemental state law claim of Malicious Prosecution.




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       47.     The City of Chicago is liable to Plaintiff for the acts of Defendants Martin and

Darling pursuant to the doctrine of respondeat superior.

       48.     Therefore, Defendants Martin, Darling, and the City of Chicago are liable under

the supplemental state law claim of Malicious Prosecution.

                                        COUNT VI
        Plaintiff Against Defendants Torres, Moore, Galarza, Kwiatkowski, Gillespie,
                               and the University of Chicago
                        For The Supplemental Claim Of BATTERY

       49.     Plaintiff hereby incorporates and realleges paragraphs one (1) through twenty-one

(21) hereat as though fully alleged at this place.

       50.     Defendants Torres, Moore, Galarza, Kwiatkowski, and Gillespie, without any legal

cause, used force aga
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       51.     The use of force by Defendants Torres, Moore, Galarza, Kwiatkowski, and

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       52.     As a result of the battery, Plaintiff was injured physically, emotionally, and

otherwise.

       53.     The University of Chicago is liable to Plaintiff for the acts of Defendants Torres,

Moore, Galarza, Kwiatkowski, and Gillespie pursuant to the doctrine of respondeat superior.

       54.     Therefore, Defendants, Torres, Moore, Galarza, Kwiatkowski, Gillespie, and the

University of Chicago are liable under the supplemental state law claim of Battery.



       WHEREFORE, the Plaintiff, Charles Boyle, by and through his attorneys, ED FOX &

ASSOCIATES, requests judgment as follows against the Defendants, and each of them:

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               emotional distress, in a sum to be ascertained;




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  3.    That the Defendants other than the City of Chicago be require  dt op a yPlaintiff
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        attorneys fees pursuant to Section 1988 of Title 42 of the United States Code, the
        Equal Access to Justice Act or any other applicable provision;

  4.    That the Defendants other than the City of Chicago be required to pay punitive and
        exemplary damages in a sum to be ascertained;

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        and

  6.    That Plaintiff have such other and further relief as this Court may deem just and
        proper.


                                     BY:     s/ Meghan A. Gonnissen
                                             Meghan A. Gonnissen
                                             ED FOX & ASSOCIATES
                                             Attorneys for Plaintiff
                                             300 West Adams
                                             Suite 330
                                             Chicago, Illinois 60606
                                             (312) 345-8877
                                             mgonnissen@efox-law.com




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            PLAINTIFF HEREBY REQUESTS A TRIAL BY JURY


                                  BY:   s/ Meghan A. Gonnissen
                                        Meghan A. Gonnissen
                                        ED FOX & ASSOCIATES
                                        Attorneys for Plaintiff
                                        300 West Adams
                                        Suite 330
                                        Chicago, Illinois 60606
                                        (312) 345-8877
                                        mgonnissen@efox-law.com




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